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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION
                                                   )
ALAN CARLSON & PETER DeLUCA,                       ) Case No. 13-2635
individually and on behalf of all others similarly )
situated,                                          ) Magistrate Judge Maria Valdez
                                                   )
               Plaintiffs,                         )
                                                   )
        vs.                                        )
                                                   )
NORTHROP GRUMMAN CORPORATION )
and the NORTHROP GRUMMAN                           )
SEVERANCE PLAN,                                    )
                                                   )
               Defendants.                         )
______________________________________ )

                      PLAINTIFFS’ FIRST AMENDED COMPLAINT

       Now come the Plaintiffs, ALAN CARLSON and PETER DeLUCA, by their undersigned

attorneys, on behalf of themselves and all others similarly situated, allege the following pursuant

to the investigation of their counsel and based on information and belief, except to allegations

specifically pertaining to Carlson and DeLuca, which are made upon personal knowledge, as

follows:

                                    NATURE OF THE ACTION

       1.      This is a case about an employer purporting to provide severance benefits to

employees through a written instrument, yet deciding to outright deny the cash payment portion

of those benefits to the laid off employees simply because of how much severance the employees

earned based on their years of service, meanwhile paying the continued medical and dental

coverage benefits under the plan.

       2.      Alan Carlson and Peter DeLuca worked for Northrop Grumman Technical

Services, Inc., a subsidiary of Northrop Grumman Corporation, for 35 and 38 years respectively.


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Most recently, Alan Carlson worked as a Program Manager of Threat Simulation Systems in the

Technical Services Sector. Peter DeLuca worked as an Engineering Manager in the Technical

Services Sector.

       3.      Northrop Grumman Corporation laid off Alan Carlson, Peter DeLuca, and two

other people in their division of Northrop Grumman Technical Services sector at the same time

as part of a Reduction in Force. All four individuals worked in the Rolling Meadows, Illinois

location. The division also employed people in at least two other locations in the United States.

The other two individuals had 32 years of service, and 25 years of service with the company.

       4.      After terminating Alan Carlson’s and Peter DeLuca’s employment, and the

employment of the others in their Sector, Northrop Grumman did not provide cash severance to

any of them, though it did continue their medical, dental, and vision benefits coverage based on

their years of service with Northrop Grumman. No other Northrop Grumman benefit plan other

than the Severance Plan provides for such continuation of medical, dental, and vision benefits as

Plaintiffs received them. Northrop Grumman simply did not want to pay out the cash portion of

the benefits, and prevented a condition from occurring, which it then blamed for why it would

not pay the severance.

       5.      The terms of the Severance Plan did not change with respect to eligibility from

2010 to 2012. In late 2011, Northrop Grumman decided to change how it interpreted and

administered the Severance Plan’s eligibility criteria, making a clause regarding delivering a

memo to a participant who was laid off notifying him he met the eligibility criteria for severance

benefits into a discretionary decision to pick and choose which laid off employees could be

eligible for severance, independent of any rule or standard written in the plan. Prior to 2012,

Northrop Grumman always treated this memo as a means of notifying a laid off employee he met



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the eligibility rules clearly stated in the plan (i.e., that the person worked over 20 hours per week

in the United States and was laid off). Without disclosing its decision to change the application

of the plan language to participants in any document or disclosure required by ERISA, Northrop

Grumman changed its policy to treat receipt of the memo as a discretionary decision, with no

rule or standard guiding how the decision to give a participant the memo would be made.

       6.      Upon information and belief, Northrop Grumman targeted groups of laid off

employees with higher years of service and compensation levels to deny delivery of this memo,

because those groups would cost the most in severance benefits.

       7.      Plaintiffs bring this action under the Employee Retirement Income Security Act

of 1974, as amended, 29 U.S.C. § 1001 et seq. (“ERISA”). Plaintiffs bring this action against

both the Northrop Grumman Severance Plan, and Northrop Grumman Corporation, seeking (1)

remedies under 29 U.S.C. § 1132(a)(1)(B) for benefits due pursuant to the terms of an employee

benefit plan governed by ERISA, (2) remedies under 29 U.S.C. § 1132(a)(3) for Northrop

Grumman Corporation’s actions in interfering with Plaintiffs’ protected rights in violation of

ERISA, 29 U.S.C. § 1140, (3) remedies under 29 U.S.C. § 1132(a)(3) for Northrop Grumman’s

failure to disclose to participants any change in the terms of the plan or administration thereof in

the summary plan description, and (4) costs and attorneys’ fees.

                                 JURISDICTION AND VENUE

       8.      Jurisdiction of the Court is based upon federal question with respect to the ERISA

based claims—in particular, 29 U.S.C. §§ 1132(e)(1), 1132(f), and 1140. In addition, this action

may be brought before this Court pursuant to 28 U.S.C. § 1331, which gives the District Court

jurisdiction over actions that arise under the laws of the United States.




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       9.     Venue is proper in the Northern District of Illinois. 29 U.S.C. § 1132(e)(2); 28

U.S.C. § 1391(b)(2).

                                      THE PARTIES

       10.    Plaintiff, ALAN CARLSON (hereinafter “Carlson”), is a former employee of

Northrop Grumman Technical Services, Inc., a subsidiary of Northrop Grumman Corporation.

Within Technical Services, Carlson worked in a division called Integrated Logistics and

Modernization Division. By virtue of this employment, he is and at all relevant times was a

participant in the Northrop Grumman Severance Plan.

       11.    Plaintiff PETER DeLUCA (hereinafter “DeLuca”) is a former employee of

Northrup Grumman Technical Services, Inc., a subsidiary of Northrop Grumman Corporation.

Within Technical Services, DeLuca worked in a division called Integrated Logistics and

Modernization Division. By virtue of this employment, he is and at all relevant times was a

participant in the Northrop Grumman Severance Plan.

       12.    The NORTHROP GRUMMAN SEVERANCE PLAN (hereinafter the “Plan”)

purports to be an employee benefit plan. The terms of the purported employee benefit plan are

contained in the document attached hereto and thereby incorporated herein by reference as

Exhibit 1.

       13.    Defendant NORTHROP GRUMMAN CORPORATION (hereinafter “Northrop

Grumman”) is the parent company of Plaintiffs’ former employer.        In addition, Northrop

Grumman purports to be the sponsor of the Plan and its administrator, delegating its

responsibility to its own Chief of Human Resources.       Northrop Grumman is financially

responsible for paying any benefits awarded under the Plan, and by virtue of its dual role as




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administrator of claims for benefits under the plan and payor of benefits; Northrop Grumman

suffers from a structural conflict of interest.

         14.    Northrop Grumman is divided into no fewer than 4 “sectors,” each of which are

divided into numerous divisions, and each division is made up of numerous programs. For

example, the Technical Services Sector employs over 14,000 individuals, who are subdivided

into divisions, and further subdivided into programs.

                 FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

         15.    The Plan is an employee welfare benefit plan providing severance benefits within

the meaning of 29 U.S.C. § 1002(1) and (3).

         16.    The Plan states an employee is eligible under the Plan if “you work in the United

States, you are regularly scheduled to work at least 20 hours per week and you have been

notified in writing by your management that you are covered by this Plan. If you are represented

by a union you are eligible only if your collective bargaining agreement provides for

participation in this plan. The fact that you received this document does not necessarily mean

that you are eligible; you must also have received a cover memo, signed by a Vice President of

Human Resources (or his/her designee), with this document addressed to you individually by

name.”

         17.    The Plan specifically excludes certain classes of employees, none of which

Plaintiffs were a member.

         18.    On July 12, 2012, Northrop Grumman notified Plaintiffs that their employment

would be terminated. Plaintiffs’ last day worked for Northrop Grumman was August 3, 2012.




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         19.   Neither Carlson nor DeLuca received a memo from a Vice President of Human

Resources advising he would receive severance benefits. The Plan states nothing about which

employees will receive such a memo for a Vice President of Human Resources.

         20.   Because ERISA requires that any plan, fund, or program have a class of

participants or beneficiaries that a reasonable person could ascertain, the Plan administrator

cannot enforce the purported requirement that a Vice President deliver a memo to a terminated

employee in order to render that former employee a participant. See 29 U.S.C. § 1104(a)(1)(D)

(only allowing fiduciaries to administer the plan in accordance with the Plan documents to the

extent the terms are consistent with ERISA).

         21.   A plan provision that purports to allow the Plan administrator to select who will

be a participant in the Plan, after the eligibility conditions stated in the Plan have been met, is not

consistent with ERISA.

         22.   Under the Plan, an employee eligible for severance benefits receives one week of

pay per year of service, plus continued medical, dental, and vision benefits, for up to 26 weeks.

         23.   Carlson had 35 years of service, DeLuca had 38 years of service, and two other

employees in Plaintiffs’ same program and division of Technical Services who were employed in

Rolling Meadows, Illinois and whose claims for severance Defendants denied—Sofia Barnas and

Debra Montemayor—had 32 and 25 years of service. Plaintiffs are aware of at least two other

individuals within the same program and division of Technical Services who were also denied

severance for the same reason as Plaintiffs, and who upon information and belief had a large

number of years of service with Northrop Grumman such that their claim for severance would be

large.




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        24.    In 2011, three employees who worked in the same division and sector as Plaintiffs

were laid off and each received all severance benefits under the Plan, the cash payment and

continued medical, dental, and vision benefits.

        25.    In particular, in March 2011, Northrop Grumman terminated the employment of

James Bergstrand in connection with a Reduction in Force. Mr. Bergstrand had 37 years of

service, and Northrop Grumman paid him the cash severance under the Plan, plus continued

medical, dental and vision coverage for 26 weeks.

        26.    Prior to 2012, Northrop Grumman uniformly delivered the written notification to

participants who were laid off advising them they were eligible for severance benefits.

        27.    In October 2011, without telling any participants, Northrop Grumman decided to

change its policy of how it administered the Plan, dubbing it plan “harmonization.” Prior to

October 2011, Northrop Grumman had always treated the written notification from Human

Resources as an act of administration, whereby the participant was notified he met the eligibility

rules of being laid off and having been regularly scheduled to work 20 hours per week or more in

the United States.

        28.    The result of this “harmonization” in October 2011 was that beginning in 2012

Northrop Grumman would begin to treat the language in the Plan regarding receiving written

notification of eligibility for severance benefits as creating a right of Northrop Grumman to pick,

in its discretion, with no rule or standard guiding how the selection is made, who could receive

severance after deciding to lay off employees that otherwise met the eligibility criteria in the

Plan.




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       29.     In 2012 alone, Northrop Grumman shed over 5,000 participants from the Plan.

Northrop Grumman disclosed that within the division in which Plaintiffs worked—Integrated

Logistics and Modernization Division—which is a division of Technical Services, Northrop

Grumman paid severance to only 17 individuals, which by and large had minimal years of

service with Northrop Grumman and would have received minimal severance under the Plan.

       30.     On the other hand, from only one program within Integrated Logistics and

Modernization Division—QRC—at least 6 individuals including Plaintiffs were denied

severance and who had such a large number of years of service with Northrop Grumman that

their severance payment would have been at or near the maximum allowable within Technical

Services.

       31.     Defendants refused to identify all individuals denied severance within Technical

Services due to not receiving the memo from a Vice President of Human Resources on the

ground that identifying all such individuals would be too burdensome.

       32.     Upon information and belief, at least 25% of all participants laid off by Northrop

Grumman were denied severance for the same reason as Plaintiffs, and did not receive a memo

advising them of severance eligibility for the same reason as Plaintiffs—because they would

receive a lot of cash severance.

       33.     Northrop Grumman did not amend any language in the Plan or Summary Plan

Description regarding eligibility criteria, leaving the language unchanged from 2010 to the

present. A copy of the 2010 Plan is hereby attached as Exhibit 2.

       34.     In early 2012, after Northrop made a decision to “harmonize” the Plan—i.e.,

change how it applied the same language regarding eligibility—Northrop delivered a




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presentation to employees who were participants of the Plan describing the memo from a Vice

President of Human resources as serving the function of notifying laid off participants they met

the eligibility requirements stated in the Plan.

          35.    Northrop never disclosed to participants that it changed its application of the Plan

language.

          36.    After Northrop Grumman terminated Plaintiffs’ employment, on August 23, 2012,

Carlson claimed the severance benefits. On August 27, 2012, DeLuca claimed his severance

benefits as well.

          37.    After DeLuca was not provided severance, he contacted Human Resources

regarding why he was not given severance, and was told it was because Northrop Grumman

changed its application of the severance plan in October 2011. DeLuca asked if this change was

ever communicated to participants, and the Human Resources representative confirmed it was

not.

          38.    Northrop Grumman provided both Plaintiffs with the continued medical, dental,

and vision coverage under the terms of the Plan.

          39.    Nothing in the Plan states it may provide some of the severance benefits under the

Plan, but not all of them.

                                     CLASS ALLEGATIONS

          40.    Plaintiffs bring this action on behalf of themselves and those similarly situated

and seek certification of the following Class:

          (a)    All persons who worked for Northrop Grumman in the United States, were

          regularly scheduled to work over 20 hours per week, were laid off from Northrop



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   Grumman from January 1, 2012 and after, and who did not receive written notification

   from management or from a Vice President of Human Resources (or his/her designee)

   notifying them of their eligibility for severance benefits under the Plan and who did not

   receive.the “Cash Portion” of the severance benefits (a.k.a. the Salary Continuation

   Benefits) under the terms of the Plan (regardless of whether they received Medical,

   Dental or Vision Benefits under the Plan).

   (b)    The beneficiaries of such persons.

   (c)    Excluded from the Class are participants who fall into one or more of the

   following categories: (1) Employees of the Electronic Systems Sector who work at BWI,

   Annapolis, Sykesville (including FE&S employees and FE&S offsite offices and

   facilities), Troy Hill, Sunnyvale or Kings Bay, (2) Employees of the Technical Services

   Sector who are classified by Northrop Grumman as being in the following employment

   categories (a) Service Contract Act (SCA) employees, (b) Union Represented employees,

   (c) Employees covered by a Memorandum of Understanding between the TS Sector and

   ES Sector providing for the temporary assignment of the employee to the TS Sector and

   retention of participation in the ES Sector employee benefit programs, (d) employees

   covered by the Electronic Systems Sector severance benefit program, and (e) employees

   represented by a union whose collective bargaining agreement does not provide for

   participation in the Plan; (3) any fiduciaries or other persons who had any decision-

   making or administrative authority with respect to the Plan and the members of the

   immediate family of any such person.




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       41.      Upon information and belief, the Class consists of no fewer than 100 individuals,

and more likely over 1,000 individuals. In 2012 alone, at the beginning of the Plan year

Northrop Grumman reported having 67,269 participants, and only 61,967 at the end of 2012.

       42.      Within the division Plaintiffs worked, Defendants disclosed that at least 25% of

participants were denied severance in a manner that would place them in the class. The sample

of individuals Defendants disclosed, upon information and belief, is a representative sample of

the composition of participants denied severance company-wide. When asked to disclose all

individuals within Technical Services sector alone who were denied severance, Defendants

refused to respond claiming compliance with the request would be too burdensome. Technical

Services represents only a fraction of the overall participants in the Plan.

       43.      The Class is sufficiently numerous for class treatment, and the joinder of all Class

members individually in one action would be impracticable, and the disposition of their claims in

a class action will provide substantial benefit to the parties and the Court.

       44.      Plaintiffs’ claims are typical of the claims of the Class, and Plaintiffs have no

interests adverse to the interests of other members of the Class.

       45.      This dispute raises questions of law and fact that are common to all Class

members. Those common questions predominate over questions that arise on an individual basis

for Class members. The common questions of law and fact include, without limitation:

       (a) Whether prior to 2012 Northrop Grumman administered the Plan to treat the written

             notification to a participant that he is eligible for severance benefits as an

             administrative act that merely notified a participant he met the eligibility criteria in




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      the Plan (i.e., that he was regularly schedule to work 20 hours per week or more in the

      United States and was laid off);

   (b) Whether Northrop Grumman decided to change how it administered the Plan in 2012

      to construe the Plan as allowing Northrop Grumman to make a discretionary decision,

      guided by no rule or standard, to select laid off employees to receive severance

      benefits;

   (c) Whether Northrop Grumman had a uniform policy and practice in administering its

      Severance Plan in 2012 and after that departed from its established course of

      administration with respect to interpreting and applying the clause regarding receipt

      of written notification of eligibility for severance benefits;

   (d) Whether Northrop Grumman disclosed to participants any material terms of the Plan

      that changed from 2011 to 2012 or any change in application of the language of the

      Plan;

   (e) Whether Northrop Grumman targeted groups of laid off employees who would

      receive the greatest cash severance under the Plan to deny delivery of the written

      notification of eligibility for severance benefits;

   (f) Whether the change in application of the same Plan language regarding receipt of the

      written notification of severance eligibility in 2012 and after entitles the Class

      members to relief of severance benefits due under the Plan;

   (g) Whether Northrop Grumman’s acts of targeting groups of employees with higher

      claims to severance benefits to deny delivery of the written notification of severance




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             eligibility constitutes unlawful interference with a right to attain benefits under 29

             U.S.C. § 1140; and

       (h) Whether Northrop Grumman’s failure to disclose any changes to Plan terms or its

             administration in 2012 to participants entitles participants to equitably reform the

             terms of the Plan to be consistent with the terms and information disclosed to

             participants under 29 U.S.C. § 1132(a)(3).

       46.      Plaintiffs will fairly and adequately represent the Class and have retained counsel

experienced and competent in handling ERISA class action litigation and other class action

litigation. Plaintiffs anticipate no difficulty in the management of this litigation as a class action.

       47.      The requirements of Fed. R. Civ. P. 23(b)(1)(B) are satisfied because the primary

issues in this case involve questions concerning the interpretation of the terms of the Plan and the

requirements of ERISA as it applies to all participants in the Plan. As a practical matter,

resolution of the issues in this case would be dispositive of the interests of the other members of

the Class.

       48.      The requirements of Fed. R. Civ. P. 23(b)(1)(A) are also satisfied because the

fiduciaries of a Plan have a legal obligation to interpret and apply the terms of the Plan

consistently for all similarly situated participants. As one of the primary issues in this case

involves the interpretation of the terms of the Plan, conflicting interpretations of the same Plan as

to similarly situated participants creates the risk of establishing incompatible standards of

conduct for the Plan and its administrator. Similarly, conflicting determinations about whether

Defendants breached their fiduciary duties creates the risk of establishing incompatible standards

of conduct for the Plan and its fiduciaries.




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       49.     The requirements of Fed. R. Civ. P. 23(b)(2) are met in this action, at least as to

certain claims because the Defendants treated Plaintiffs and all Class members in the same

manner. Additionally, the relief sought by the Plaintiffs is a declaration of their rights under the

terms of the Plan, making appropriate final declaratory and injunctive relief with respect to the

Class as a whole.

       50.     The requirements of Fed. R. Civ. P. 23(b)(3) are met in this action because (a) the

questions of law and/or fact – whether Defendants have properly interpreted the Plan, whether

Defendants violated ERISA’s statutory requirements and whether Defendants breached their

fiduciary duties -- are not only common, but will predominate over any individual questions and

(b) a class action is superior to other available methods for the fair and efficient adjudication of

this litigation. Additionally, a class action is superior to other available methods for the fair and

efficient adjudication of the controversy as a result of the following factors: (a) the members of

the Class have an interest in a unitary adjudication of the issues presented in this action for the

reasons that this case should be certified under Rule 23(b)(1); (b) upon information and belief,

the only litigation concerning this controversy by any members of the Classes are the ones that

have been consolidated in this Action; (c) this District is a desirable location for concentrating

the litigation because among the following reasons; and (d) there are no anticipated difficulties in

managing this case as a class action.

             COUNT I—ERISA 29 U.S.C. § 1132(a)(1)(B) CLAIM FOR BENEFITS DUE
                 AND CLARIFICATION AS TO RIGHTS UNDER THE PLAN
                            (AGAINST ALL DEFENDANTS)
       51.     Plaintiffs reallege and incorporate by reference the foregoing paragraphs of the

preceding allegations.

       52.     Plaintiffs plead this count in the alternative to, and not in addition to, Count II.




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        53.     Despite providing Plaintiffs with some of the benefits under the terms of the Plan,

on November 9, 2012, Northrop Grumman made an adverse benefit determination, as that term

is defined in 29 C.F.R. § 2560.503-1, with respect to both Plaintiffs’ claims insofar as those

claims concerned the cash payment portion of the severance benefits. Northrop Grumman’s

stated reason for denying the benefits was that a Vice President of Human Resources did not

select Plaintiff to received benefits under the Plan. (Ex. 3).

        54.     On December 3, 2012, DeLuca timely appealed the adverse benefit determination.

On January 3, 2013, Carlson timely appealed the same. (Ex. 4).

        55.     On February 1, 2013, Northrop Grumman upheld its original adverse benefit

determinations of Carlson’s and DeLuca’s claims, resulting in a final administrative denial for all

Plaintiffs. (Ex. 5).

        56.     Plaintiffs met all required conditions to receive benefits under the Pan.

        57.     To the extent required to do so, Plaintiffs properly exhausted any required

administrative claims procedure prior to filing suit in Court.

        58.     This complaint is timely filed under any statute of limitations or limitations period

found in the Plan.

        59.     Northrop Grumman’s denials of Plaintiffs’ claims for benefits were contrary to

the terms of the Plan and contrary to law.

        60.     Under 29 U.S.C. § 1132(a)(1)(B), a civil action may be brought by a participant

or beneficiary to recover benefits due to him under the terms of his plan, to enforce his rights

under the terms of the plan, or to clarify his rights to future benefits under the terms of the plan.




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        61.      As a direct and proximate result of Northrop Grumman’s denial of Plaintiffs’

claims for benefits, there has been created a case of actual controversy by and between the

parties hereto entitling Plaintiffs to a declaration of rights clarifying the benefits to which they

are entitled under the Plan.

        WHEREFORE, Plaintiffs pray for the following relief as to this count of the complaint:

        A.       Declaring that Plaintiffs and the Class are entitled to benefits under the Plan and

requiring Defendants to pay benefits under the terms of the Plan as determined by the Court plus

pre-judgment interest;

        B.       Award Plaintiffs and the Class their attorneys’ fees pursuant to 29 U.S.C.

§ 1132(g); and

        C.       Award Plaintiffs and the Class any and all other relief to which they may be

entitled, as well as costs of suit.

                               COUNT II—VIOLATION OF 29 U.S.C. § 1140
                                 (AGAINST NORTHROP GRUMMAN)

        62.      Plaintiffs reallege and incorporate by reference herein paragraphs 1–50 of the

preceding allegations.

        63.      Plaintiffs plead this count in the alternative to, and not in addition to, Count I.

        64.      Title 29 U.S.C. § 1140, provides in relevant part:

        It shall be unlawful for any person to discharge, fine, suspend, expel, discipline,
        or discriminate against a participant or beneficiary for exercising any right to
        which he is entitled under the provisions of an employee benefit plan, this
        subchapter, section 1201 of this title, or the Welfare and Pensions Plans
        Disclosure Act [29 U.S.C. 301 et seq.], or for the purpose of interfering with the
        attainment of any right to which such participant may become entitled under the
        plan.




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        65.     Plaintiffs are members of the class protected by 29 U.S.C. § 1140 by reason of

their participation in the Plan.

        66.     Participants are empowered to bring suit to redress 29 U.S.C. § 1140 violations

via § 1132(a)(3).

        67.     Upon information and belief, the reason Northrop Grumman did not have a Vice

President of Human Resources deliver a memo to Plaintiffs, or the other individuals similarly

situated, was because each of them qualified for a high number of weeks of severance pay under

the Plan.

        68.     Northrop Grumman discriminated against Plaintiffs in not delivering to them the

memo from a Vice President in order to interfere with their attainment of severance benefits.

        69.     The Director of Human Resources, Demile Robinson Gilmore, explained in an

email to Margaret Collins, Retirement Administrator, on September 21, 2012 that Carlson, and

other employees in his sector, were not offered severance and not given the memo by a Vice

President of Human Resources because the sector’s new contract is funded at a lower level than

the expiring contract. (Ex. 6).

        70.     Northrop Grumman stated in an initial draft of the adverse benefit determination

on Carlson’s claim—before being edited by the Plan’s counsel—that the division in which

Carlson worked did not perform well financially, which was why Carlson was not selected for

severance. (Ex. 7). However, numerous other individuals in that same division who had smaller

claims for severance did receive the memo from a Vice President of Human Resources and did

receive severance.




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       71.     These reasons for not offering the severance, however, were the exact same

reasons stated in Carlson’s personnel records as the reason for his layoff. (Ex. 8).

       72.     DeLuca filed a charge with the EEOC alleging age discrimination. In its response

to the charge, Northrop Grumman specifically stated Plaintiffs were not picked to receive

severance because of affordability reasons.           However, Northrop Grumman did pick 17

individuals in the same division as Plaintiffs laid off in 2012 to receive severance where those

individuals had significantly fewer years of service.

       73.     Northrop Grumman, however, did not assert the non-delivery of a memo from a

Vice President of Human Resources in order to deny the continued medical, dental, and vision

coverage to Plaintiffs. Northrop Grumman provided Plaintiffs with that portion of the Plan

benefits.

       74.     The foregoing conduct constitutes unlawful interference with Plaintiffs’ rights to

attain benefits protected by 29 U.S.C. § 1140.

       75.     Because employers may not simply deny claims for benefits out of hand, they also

may not prevent conditions for receiving benefits from occurring merely to avoid paying the

benefits. See Heath v. Varity Corp., 71 F.3d 256, 258 (7th Cir. 1995).

       76.     As a direct and proximate result of Northrop Grumman’s unlawful and

discriminatory acts, Plaintiffs suffered a loss of income, including past-due severance benefits

under the Plan.

       77.     Because Northrop Grumman unlawfully interfered with Plaintiffs’ right to attain

benefits under the Plan, Northrop Grumman is liable to Plaintiffs for all past-due severance

benefits under the Plan.




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        WHEREFORE, Plaintiffs, and all others similarly situated, pray for the following relief

as to this count of the complaint:

        A.       Declare Northrop Grumman liable for the interference with the rights of

Plaintiffs’ and the Class under the Plan;

        B.       Order that Plaintiffs and the Class be reinstated into the Plan and/or be declared to

be participants in the Plan, and declare that Plaintiffs and the Class are entitled to all benefits

that should have been paid but were not paid under the terms of the Plan, plus prejudgment

interest on any such withheld benefits;

        D.       Award Plaintiffs and the Class reasonable attorneys’ fees pursuant to 29 U.S.C.

§ 1132(g); and

        F.       Award Plaintiffs and the Class any and all other relief to which they may be

entitled, as well as the costs of suit.

                                COUNT III—EQUITABLE REFORMATION
                                         29 U.S.C. § 1132(A)(3)
                                  (AGAINST NORTHROP GRUMMAN)

        78.      Plaintiffs reallege and incorporate by reference herein paragraphs 1–50 of the

preceding allegations.

        79.      Northrop Grumman made changes to the administration, interpretation, or terms

of the Plan that it did not disclose to any participants.

        80.      The 2012 summary plan description contained the exact same language regarding

eligibility as the 2010 plan document and summary plan description.

        81.      Even after Northrop Grumman decided to change how it administered the Plan

and applied the language regarding eligibility, it continued to tell participants in presentations



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regarding the severance plan that the memorandum from a Vice President of Human Resources

served as a notification that the participant met the eligibility rules stated in the Plan.

        82.     Northrop Grumman did not disclose to participants that it adopted a new policy in

its “harmonization” of October 2011, whereby the new function of the memorandum from a Vice

President of Human Resources was to be a discretionary selection of which employees would be

chosen for severance after Northrop Grumman decided to lay them off, with no rule or standard

in the Plan governing how that decision would be made.

        83.     Northrop Grumman breached its fiduciary duty of disclosure to participants by

not amending the language of the summary plan description to explain the change in how

Northrop Grumman would apply the eligibility rules, and by continuing to tell participants the

memorandum served the same function it did in 2010 and 2011—an administrative act of

notification that the participant satisfied the clearly stated eligibility rules in the Plan (i.e., that he

was scheduled to work over 20 hours per week in the United States and was laid off).

        84.     As a result of this breach of fiduciary duty, the Court is empowered to equitably

reform the Plan to reflect the material terms as disclosed to participants and as participants

reasonably understood those terms based on Northrop Grumman’s disclosures.

        WHEREFORE, Plaintiffs and all others similarly situated pray for the following relief as

to this count of the complaint:

        A.      Declare that Northrop Grumman breached its fiduciary duty of disclosure to Plan

participants by not disclosing any changes in terms of the Plan or its application of those terms

that altered the function of the receipt of a memorandum from a Vice President of Human

Resources;




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       B.      Order that the Plan be equitably reformed to reflect only those terms of the Plan

and application thereof as Northrop Grumman disclosed to participants, including that the

memorandum from a Vice President of Human Resources constituted a means of notifying

Participants they were regularly schedule to work at least 20 hours per week in the United States

and were laid off, thereby entitling them to benefits under the Plan;

       C.      Award Plaintiffs and their costs of maintaining this action, including reasonable

attorneys’ fees and all costs and expenses of suit;

       D.      Award, declare or otherwise provide Plaintiffs and all others similarly situated

with such other and further relief as this Court deems appropriate, including, but not limited to

removal of Northrop Grumman as a fiduciary of the Plan.

Dated: October 22, 2014                               Respectfully submitted,


By:    /s/ Michael Bartolic________                   /s/ R. Joseph Barton

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                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on October 22, 2014, a copy of the
foregoing was served by operation of the Court’s electronic filing systems upon the following
counsel of record:

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                                            /s/ Michael Bartolic________ ____




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